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                       EXHIBIT “F”
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  From: "Brian C. Shevland" <shevland@yahoo.com>
  Date: February 10, 2021 at 5:34:31 PM PST
  To: Patrick Orlando <porlando@benesserecapital.com>
  Cc: Eric Swider <es@renatusadvisors.com>
  Subject: Moving forward.
  Reply‐To: "Brian C. Shevland" <shevland@yahoo.com>


  Patrick,
  I appreciated our call and I am very ready to move on and put this behind us to focus on
  the future. I want to make sure that my understanding of the call we had today is
  memorialized and agreed upon to avoid any confusion by either party. If we agree to
  everything we discussed on the call, I will sign the subscription document tonight, wire
  the money tomorrow, and we will start building something spectacular together
  immediately.

  For the purposes of this agreement to move forward, my understanding is as follows:

  1) I am sending you $500,000 for the sole intended purpose of acquiring 250,000
  shares of BENE.

  2) Over the next few weeks, you are investing your own personal capital in other SPACs
  and if those SPACs successfully IPO prior to March 31st, 2021, and you obtain a
  price/share less than or equal to $2.00/share, I will be able to maintain the 250,000
  shares of BENE.

  3) However, if the other SPAC investments you invest into are not able to IPO, you have
  the right to send me back an amount of capital up to $200,000 prior to March 31st,
  2021, and my shares in BENE would be reduced pro rata. The capital that remains at
  BENE would still purchase as many shares as possible at a cost of $2/share.

  4) Patrick and Brian will have the opportunity but not the obligation to invest up to equal
  amounts in all current and future SPAC opportunities, whether internal or external, at
  the same terms (same price/share). In the event that Brian and his network are able to
  raise more sponsor capital in order to reduce the price per share, both Brian and Patrick
  will share equally in the price/share reduction, the shares will not be bifurcated. This
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  right does not extend to BENE since those terms are outlined in the subscription
  agreement but would apply to all other SPAC opportunities.

  5) You will process whatever paperwork is necessary to add me as a Director to BENE
  as soon as possible, so that I am officially added both to the legal structure and to the
  website no later than February 16th. This is important based upon meetings I have
  already arranged for February 17th. I will immediately begin working with Eric to
  streamline various processes, evaluate opportunities, and provide additional leads and
  relationships to our team.

  6) I will onboard your licenses with my B/D asap, under the terms we discussed, and I
  will cover all of the standard fees of joining the firm on your behalf. The intention would
  be for you to build and manage an Investment Banking operation.

  Please review at your earliest convenience. If you agree that these are the terms we
  have agreed to, please confirm in an email and I will sign and send the subscription
  documents and prepare the wire first thing tomorrow morning.

  Sincerely,
  Brian



  On Tuesday, February 9, 2021, 11:44:41 PM GMT-4, Patrick Orlando <porlando@benesserecapital.com>
  wrote:


  Brian,

  1. I think this language should work for the subscription agreement:

          The undersigned further acknowledges and approves that, prior to March 31, 2021, the
  Company may reduce the total investment value in the Company by up to 40% and return to
  undersigned the respective pro-rata portion of this investment in cash or alternatively, with approval
  of the undersigned, exchange for an allocation to the undersigned of an indirect ownership interest
  in shares of Class B common stock of another SPAC at the same effective share price.

  2. Most other sponsor investors signed pre-IPO so their language said they should fund upon Company
  capital call.
  3. I am being shown a couple allocations in Sponsor shares and am confident I will close allocation
  prior to March 31.


  Best Regards,
  Patrick Orlando - Founder and CEO
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  not the intended recipient, you must not disclose or use the information in this email in any way. If you received it in
  error, please advise us immediately by return email and delete the document.


  On Tue, Feb 9, 2021 at 1:48 PM Patrick Orlando <porlando@benesserecapital.com> wrote:
   Brian,

   Just getting to emails now. A couple observations:
                                                               2
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       1. Arc Global Investments LLC is the Sponsor of Benessere Capital, not the same company as Arc
          Group Limited which is the boutique investment banking guys
       2. I'll look at the language now and revert.




   Best Regards,
   Patrick Orlando - Founder and CEO


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   On Tue, Feb 9, 2021 at 7:53 AM Brian C. Shevland <shevland@yahoo.com> wrote:
    Patrick,
    The language that was incorporated in the original doc you sent over would give ARC
    a free call option using my capital. Clearly that isn't going to work, I have no
    relationship with them and they have not even been on our calls to hear what we have
    agreed upon. This has been edited to specifically outline exactly what we discussed
    on our most recent calls and I highlighted the language that has been edited for ease
    of review. The entire section highlighted could probably also simply be deleted
    because I believe we could always mutually agree upon a different arrangement in
    writing.

    My only other question is whether other sponsor shares investors all signed the exact
    same document or if other modifications have been made which I should review.
    Assuming all sponsor share investors signed this same document and the edited
    language is acceptable let's get this signed today and I will start the wire transfer
    process.

    Sincerely,
    Brian



    On Monday, February 8, 2021, 01:11:30 PM GMT-4, Patrick Orlando
    <porlando@benesserecapital.com> wrote:


    Subscription agreement.


    Best Regards,
    Patrick Orlando - Founder and CEO
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